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                       EXHIBIT 7
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                         JAMES v. HAMPTON, ET AL.

                                 MARGARET RYNIER




                                   December 21, 2017



                                       Prepared for you by




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                                                           Page 1                                                 Page 3
         1        IN THE DISTRICT COURT OF THE UNITED STATES         1   ALLYSON TERPSMA
         2          FOR THE EASTERN DISTRICT OF MICHIGAN             2   Warner, Norcross & Judd, LLP
         3               SOUTHERN DIVISION                           3   111 Lyon Street, NW
         4                                                           4   Grand Rapids, Michigan 49503
         5   SYLVIA JAMES,                                           5   616.752.2539
         6             Plaintiff,                                    6   aterpsma@wnj.com
         7      vs.               Case No. 2:12-CV-10273             7       Appearing on behalf of the Defendant Fischer.
         8                        Hon. Paul Borman                   8
         9   HILLIARD HAMPTON, et al,                                9   MELISSA WOJNAR-RAYCRAFT
        10             Defendants.                                  10   The Mike Cox Law Firm, PLLC
        11                             /                            11   17430 Laurel Park Drive North, Suite 120
        12                                                          12   Livonia, Michigan 48152
        13                                                          13   734.591.4002
        14      The Deposition of MARGARET RYNIER,                  14   mraycraft@mikecoxlaw.com
        15      Taken at 3030 West Grand Boulevard,                 15       Appearing on behalf of the Defendant Anderson.
        16      Detroit, Michigan,                                  16
        17      Commencing at 9:56 a.m.                             17   ALSO PRESENT:
        18      Thursday, December 21, 2017,                        18   Paul Fischer
        19      Before Nora Morrissy, CSR-2642.                     19
        20                                                          20
        21                                                          21
        22                                                          22
        23                                                          23
        24                                                          24
        25                                                          25


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         1     APPEARANCES:                                          1                TABLE OF CONTENTS
         2                                                           2
         3     JOSHUA FISHER                                         3    Witness                             Page
         4     Morganroth & Morganroth, PLLC                         4    MARGARET RYNIER
         5     344 North Old Woodward                                5
         6     Suite 200                                             6     EXAMINATION
         7     Birmingham, Michigan 48009                            7     BY MR. FISHER:                         6
         8     248.864.4000                                          8     EXAMINATION
         9     jfisher@morganrothlaw.com                             9     BY MS. WOJNAR-RAYCRAFT:                         50
        10          Appearing on behalf of the Plaintiff.           10
        11                                                          11                     EXHIBITS
        12     JEANMARIE MILLER                                     12
        13     Assistant Attorney General                           13     Exhibit                         Page
        14     State of Michigan                                    14     (Exhibits attached to transcript.)
        15     Department of Attorney General                       15
        16     525 West Ottawa Street, Floor 5                      16     DEPOSITION EXHIBIT 1                       14
        17     Lansing, Michigan 48933                              17     DEPOSITION EXHIBIT 2                       39
        18     517.373.6434                                         18
        19     millerJ51@michigan.gov                               19
        20         Appearing on behalf of the Defendant.            20
        21                                                          21
        22                                                          22
        23                                                          23
        24                                                          24
        25                                                          25




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         1   Detroit, Michigan                                              1   A. March 14th, 1956.
         2   Thursday, December 21, 2017                                    2   BY MR. FISHER:
         3   9:56 a.m.                                                      3   Q. And then can you describe your formal education, just
         4                                                                  4      going from college forward.
         5                     MARGARET RYNIER,                             5   A. Graduated from college in 1978 or '9. Started law
         6        was thereupon called as a witness herein, and after       6      school in 1979. Graduated in 1982, and then I had a
         7        having first been duly sworn to testify to the truth,     7      judicial clerkship and started with the Wayne County
         8        the whole truth and nothing but the truth, was            8      Prosecutor's Office in 1985.
         9        examined and testified as follows:                        9   Q. What college did you go to?
        10                MR. FISHER: My name is Joshua Fisher. I'm        10   A. University of Detroit.
        11        one of the attorneys for plaintiff in this matter.       11   Q. And your major?
        12                Let the record show this is the deposition       12   A. Broadcast management.
        13        of Margaret Rynier taken pursuant to notice under the    13   Q. And you got a degree in that?
        14        Federal Rules of Civil Procedure.                        14   A. Correct.
        15                Miss Rynier, I'll be asking you a series of      15   Q. And then for law school where did you go?
        16        questions and your answers are given under oath.         16   A. University of Detroit.
        17                Do you understand that?                          17   Q. Okay. Did you get any other graduate degrees?
        18                THE WITNESS: Yes.                                18   A. No.
        19                MR. FISHER: You must answer verbally so          19   Q. Are you a member of any professional associations?
        20        that your answer can be recorded by the court            20   A. American Bar Association, Michigan Bar Association I
        21        reporter.                                                21      believe still. I think that's it.
        22                Do you understand?                               22   Q. As far as the ABA goes, are you on any ABA committees?
        23                THE WITNESS: Yes.                                23   A. No.
        24                MR. FISHER: If you don't understand a            24   Q. Are you familiar with the ABA Standing Committee on
        25        question, just say so and I'll try and clarify it, and   25      Professional Discipline?


                                                            Page 6                                                                  Page 8
         1        you have to let me finish my question before you          1   A. Am I familiar with it? Yeah, I know it exists.
         2        answer just so the court reporter can get everything      2   Q. How about the ABA Standing Committee on Judicial
         3        on the record, and the same thing applies to me if I      3      Independence?
         4        cut you off or anything, try to be good.                  4   A. I know it exists.
         5                 THE WITNESS: Okay.                               5   Q. But you don't have any affiliation with it?
         6                 MR. FISHER: So, we can get everything            6   A. No.
         7        down. If I interrupt you or you haven't completed         7   Q. Can you please describe your complete employment
         8        your answer, just let me know and I'll let permit you     8      history going from the time you graduated college, not
         9        to finish.                                                9      before college, just from college on.
        10                 Even though I think this should be pretty       10   A. I actually can't, not complete. I know that -- I can
        11        quick, if you do need a break for any reason, just let   11      tell you since law school because it's much easier. I
        12        me know. I might have to finish a line of questioning    12      mean during law school I clerked. I can't tell you
        13        but I think any time you do, just let me know we'll      13      the firm names anymore.
        14        take a break.                                            14   Q. If you don't remember --
        15                 THE WITNESS: Okay.                              15   A. I don't, I'm sorry.
        16                      EXAMINATION                                16   Q. I mean that's an answer.
        17   BY   MR. FISHER:                                              17   A. I know that since law school I had a judicial
        18   Q.    What's your full name?                                  18      clerkship and then Wayne County Prosecutor's Office.
        19   A.    Margaret Rynier.                                        19   Q. Okay. And how long were you at the Wayne County
        20   Q.    No middle name?                                         20      Prosecutor's Office?
        21   A.    Initials NS.                                            21   A. 1985 until January of 2011.
        22   Q.    What's your date of birth?                              22   Q. And after the Wayne County Prosecutor's Office?
        23                 MR. FISCHER: Women don't like answering         23   A. Judicial Tenure Commission.
        24        that.                                                    24   Q. Where you are still working?
        25                 MS. MILLER: It's background. It's okay.         25   A. Correct.




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        1   Q. What was your position at the Judicial Tenure                  1      responsibilities in your capacity as an associate
        2      Commission when you started there?                             2      examiner during the formal proceedings?
        3   A. Staff attorney.                                                3   A. Preparing witnesses for the formal hearing,
        4   Q. And you're still staff attorney?                               4      presentation of evidence. After that if a master
        5   A. All of us are, yes.                                            5      requires or requests, preparation of a proposed
        6   Q. And who hired you at the JTC?                                  6      finding of fact, writing of briefs, responding to
        7   A. I understand the Commission.                                   7      motions before the formal hearing if any are filed by
        8   Q. But it wasn't an individual that interviewed you and           8      either side, and then briefs to the Supreme Court --
        9      hired you?                                                     9      briefs to the Commission and briefs to the Supreme
       10   A. Oh, Mr. Fischer hired me.                                     10      Court.
       11   Q. If I call it the JTC, you know I mean the Judicial            11   Q. What are the differences in the briefs that go to the
       12      Tenure Commission?                                            12      Commission and the briefs that go to the Supreme
       13   A. Okay, of course.                                              13      Court?
       14   Q. So, I presume Mr. Fischer was the executive director          14   A. Well, the brief to the Commission is taking the
       15      at the time you were hired?                                   15      master's findings of fact and conclusions of law and
       16   A. Yes.                                                          16      then arguing those, and then once the Commission makes
       17   Q. And are you a senior staff attorney? Are there                17      a decision, then we adopt that position and we present
       18      different --                                                  18      that to the Supreme Court.
       19   A. There's no designations.                                      19   Q. Is there ever a different -- the master also makes
       20   Q. Staff attorney, staff attorney?                               20      findings, is that correct?
       21   A. Correct.                                                      21   A. The master makes finding of fact and conclusions of
       22   Q. Can you describe your duties as a staff attorney?             22      law, yes.
       23   A. Investigating requests for investigation or reviewing         23   Q. Is there ever a difference in what the master might
       24      investigations, request for investigations,                   24      determine and what the Commission might ultimately end
       25      interviewing witnesses, preparation of reports for the        25      up recommending?



                                                                Page 10                                                                  Page 12
        1      Commission, request for comments to respondents who            1   A. The master does not make any recommendations to the
        2      are the judges, formal complaints if the Commission            2      Supreme Court in terms of the sanctions. The master
        3      authorizes them and then trying cases or formal                3      only makes finding of facts and conclusions of law.
        4      hearings if that's what the Commission authorizes.             4   Q. Okay.
        5   Q. Do you ever prepare cases for hearings?                        5   A. The Commission can then adopt or reject those and then
        6   A. Yes.                                                           6      they make a recommendation to the Supreme Court, and
        7   Q. And would you ever actually present evidence at a              7      we argue that position and then the court is free to
        8      hearing before a master?                                       8      adopt or reject.
        9   A. Yes.                                                           9   Q. Are you familiar with who Judge Sylvia James is?
       10   Q. Do staff attorneys serve as associate examiners during        10   A. Yes.
       11      formal proceedings ever?                                      11   Q. Do you recall when the JTC was investigating
       12   A. Yes.                                                          12      Judge James?
       13   Q. And I presume that you do that as well?                       13   A. Yes, I recall there was an investigation.
       14   A. Yes.                                                          14   Q. But nothing beyond that?
       15   Q. How many times have you served as an associate                15   A. But I mean I don't have a one hundred percent recall
       16      examiner?                                                     16      of every detail of that investigation.
       17   A. I believe in the area of seven, eight.                        17   Q. That would have been close to around when you began at
       18   Q. Does the JTC divide as far as staff attorneys go the          18      the JTC?
       19      -- which staff attorneys are going to serve as the            19   A. Yes.
       20      associate examiners, pretty evenly or do they have a          20   Q. Do you recall when the JTC was pursuing a formal
       21      way of choosing who is going to be an associate               21      complaint against Judge James as well?
       22      examiner for any given case?                                  22   A. Yes.
       23   A. Since I've hired in I've done most of the formal              23   Q. How did the JTC's investigation of Judge James begin?
       24      hearings but that's because I do trials.                      24   A. I'm sorry. I don't understand the question. What do
       25   Q. Okay. Can you describe your roles and                         25      you mean begin?




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        1   Q. What was the first instance you heard about the                1      was an audit conducted by Miss McLemore, I remember I
        2      investigation of Judge James?                                  2      spoke to her. Does it refresh my memory, no, but I
        3   A. It was either on the news before the request for               3      have a faint memory that there might have been one
        4      investigation was filed or the request for                     4      filed by SCAO.
        5      investigation was filed and then the news story broke.         5   Q. Is that because this isn't an actual grievance form?
        6      I cannot tell you which one came first. And there              6   A. Correct.
        7      were several requests for investigation filed.                 7   Q. If somebody wanted to make a grievance, would they
        8   Q. Do you know how many requests for investigation?               8      have to file that grievance form or would something
        9   A. No, I don't, I'm sorry.                                        9      like this suffice to open an investigation?
       10   Q. If I use the term grievance, will you understand that         10   A. I believe there has to be a form filled out.
       11      to mean the same thing as a request for investigation?        11   Q. Okay. Do you know if a request for investigation was
       12   A. Sure.                                                         12      filed by David Jones?
       13   Q. I might use request for investigation as well: You            13   A. That rings a bell.
       14      indicated there were several grievances. Do you know          14   Q. And would you recall when Mr. Jones' grievance was
       15      who initiated the investigation of Judge James?               15      received by the --
       16   A. Well, the investigation has to be approved by the             16   A. No.
       17      Commission but who filed the first grievance?                 17   Q. And I would imagine you wouldn't recall whether the --
       18   Q. Uh-huh.                                                       18      Mr. Jones' grievance was before or after Judge James
       19   A. I don't know. I know there was a gentleman who was            19      was placed on administrative leave?
       20      prohibited or barred from entering the courthouse             20   A. No, I have no memory.
       21      because he wore a pair of jeans. Whether he was the           21   Q. Do you recall the nature of Mr. Jones' grievance?
       22      first, I don't know.                                          22   A. No.
       23              I know there was a grievance filed by a               23   Q. Do you know if the JTC had any investigations
       24      city attorney, I can't tell the name anymore, and I'm         24      regarding Judge James prior to the investigation that
       25      not sure if there was another one or not.                     25      ultimately led to formal complaint 88?



                                                                   Page 14                                                              Page 16
        1   Q. You're aware that the JTC could open up an                     1   A. No, I don't remember. I'm not sure I ever knew.
        2      investigation on its own volition without a grievance?         2   Q. Do you know if -- I think you testified that you don't
        3   A. Correct.                                                       3      recall if Deborah Green even filed a grievance, that
        4   Q. Did that happen in Judge James' case?                          4      is correct?
        5   A. I don't remember.                                              5   A. I seem to have a faint memory there was one filed by
        6   Q. Do you know if a request for investigation was filed           6      SCAO and that would have been Deborah Green, but can I
        7      by Deborah Green?                                              7      tell you if I have an existing memory, no.
        8   A. It might have been.                                            8   Q. Do you recall if that grievance would have been filed
        9              MARKED FOR IDENTIFICATION:                             9      with the JTC or presented before the JTC before or
       10              DEPOSITION EXHIBIT 1                                  10      after Judge James was placed on administrative leave?
       11              10:11 a.m.                                            11   A. No memory whatsoever. Please keep in mind the filing
       12   BY MR. FISHER:                                                   12      is a separate time frame than presentation to the
       13   Q. I'm handing you what's been marked as Exhibit 1 which         13      Commission. So, it has to be filed, then presented to
       14      is a June 14th, 2011 letter to Mr. Paul Fischer from          14      the Commission.
       15      Deborah Green who at the time was a regional                  15   Q. Is there usually a long time period between those two
       16      administrator of the Michigan Supreme Court State             16      events?
       17      Court Administrative Office.                                  17   A. It varies.
       18              I don't think you have to read the whole              18   Q. Are you aware that Judge James was placed on
       19      thing. I just -- I guess take your time and take a            19      administrative leave?
       20      look at -- and let me know if this refreshes your             20   A. Yes.
       21      recollection as to whether Deborah Green had filed a          21   Q. Is it true that a request for investigation from the
       22      request for investigation.                                    22      State Court Administrator doesn't need to be under
       23   A. Whether she was an actual grievant, no, it doesn't. I         23      oath?
       24      know that I spoke to her during the investigation.            24   A. I have no idea.
       25      She may have very well filed one, and I remember there        25   Q. Do you know if the JTC was considering independently




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        1      opening an investigation regarding Judge James before          1   A. I have no idea.
        2      it received any grievances?                                    2   Q. -- on Judge James? Do you know that when Judge James
        3   A. You mean the Commission itself?                                3      was placed on administrative leave that Judge Valdemar
        4   Q. Correct.                                                       4      Washington was appointed to act as interim chief judge
        5   A. I would not know. I'm not privy to the deliberations.          5      of the 22nd District Court?
        6   Q. So, is it true that staff attorneys don't decide               6   A. Do I know that now, yes.
        7      whether the JTC is going to independently open an              7   Q. Do you know that -- so, you know that now in hindsight
        8      investigation without having received any grievances           8      but you didn't know it was happening at the time?
        9      from other folks?                                              9   A. Oh, no, I did. I can't tell you when that happened.
       10   A. That is correct.                                              10   Q. So, you don't know when it happened but now that it
       11   Q. It would be the Commission that does that?                    11      happened after she was placed on administrative leave?
       12   A. Correct.                                                      12   A. I believe so, but I don't know how close it came to
       13   Q. Okay. So, the only time a staff attorney would ever           13      it, whether it was simultaneously or a day or two
       14      know that the JTC might open or is going to open an           14      after, I can't tell you.
       15      independent investigation without receiving a                 15   Q. Sure. Fair enough. Do you know if Judge Washington
       16      grievance would be after the commissioners might              16      controlled access to Judge James' safe while he served
       17      notify a staff attorney? I can shorten it if you'd            17      as the interim --
       18      like.                                                         18   A. I have no knowledge of that.
       19               I just want to know if a staff attorney              19   Q. Was Judge Washington -- strike that.
       20      would ever begin or start the process of the JTC              20               Judge Washington cooperated with the JTC's
       21      independently opening an investigation or is it always        21      investigation of Judge James, is that correct?
       22      something that comes right down from the Commission?          22   A. Yes.
       23   A. The Commission has to give authority for an                   23   Q. Do you know to what extent Judge Washington was
       24      investigation whether it's filed by someone or whether        24      involved in the investigation of Judge James?
       25      they decide to open it on their own.                          25   A. I'm not clear as to what you mean by that.


                                                                   Page 18                                                            Page 20
        1   Q. Okay. So, a staff attorney can't go to the Commission          1   Q. Do you know what Judge Washington was asked to do as
        2      and say I think we should open up an investigation             2      far as accessing information related to the
        3      against so and so, is that right?                              3      investigation of Judge James?
        4   A. We never go to the Commission ourselves. I mean we're          4   A. I'm sorry. You'd have to be more specific.
        5      not there when they are deliberating.                          5      Information -- most of our information came from
        6   Q. Okay.                                                          6      Miss Anderson. Did I speak with Judge Washington,
        7   A. Do we present reports, yes, and then they will decide          7      yes, did he cooperate in answering the questions, yes.
        8      whether to open it or not.                                     8      I can't tell you anything beyond that.
        9   Q. Okay.                                                          9   Q. Do you know whether Judge Washington was asked to look
       10   A. Do you follow me?                                             10      for certain documents in the courthouse?
       11   Q. Yeah, I do. So, for example, I'm not saying something         11   A. Not that I know of, not by me.
       12      like this could have ever happened but if a staff             12   Q. You just said that Judge Washington answered
       13      attorney was aware of an egregious media article that         13      questions. What were the nature of the types of
       14      the staff attorney found out about, it might present          14      questions that Judge Washington was answering?
       15      that to the Commission by way of a brief or a memo or         15   A. I can't tell you that.
       16      something like that?                                          16   Q. Who was the staff attorney assigned to investigate
       17   A. Correct.                                                      17      Judge James once the actual investigation was opened?
       18   Q. Do you know when Judge James was placed on                    18   A. I was.
       19      administrative leave by the Supreme Court?                    19   Q. Okay. Anybody else?
       20   A. No.                                                           20   A. No.
       21   Q. When I say Supreme Court, I mean the Michigan Supreme         21   Q. And it's usually just one staff attorney?
       22      Court.                                                        22   A. One staff attorney and the executive director.
       23   A. No, I don't.                                                  23   Q. Can you describe the nature of the investigation in
       24   Q. Do you know if the Michigan Supreme Court was notified        24      terms of what was being done primarily?
       25      when the JTC opened its investigation --                      25   A. Interviewing witnesses, meeting with the court




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        1      administrator, gathering evidence, evaluating              1      the clerks, and if you have to parse them out with
        2      evidence, writing reports, presenting them to the          2      different people, that's fine.
        3      Commission, asking for authority to do further             3   A. I can't tell you, I'm sorry.
        4      investigation and then following that authority.           4   Q. Were any discussions with Judge Washington regarding
        5   Q. What type of evidence was being gathered?                  5      finding any documents in the courthouse?
        6   A. The information gathered related to the allegations.       6   A. I don't believe so.
        7      I remember there were financial allegations or             7   Q. How about with respect to Miss Anderson?
        8      financial impropriety allegations, so, that was            8   A. There were a lot of documents that I requested. I
        9      gathered and the investigation included talking to         9      remember her maintaining some calendars and I asked
       10      witnesses about policies and procedures in terms of       10      for copies of those, perhaps some docket sheets. You
       11      allowing people to enter the courthouse, I mean there     11      know, we already had the checks that were at issue,
       12      is so much more that I'm sure I'm missing some at this    12      but those I did not obtain from Miss Anderson, I got
       13      point. Please keep in mind that it has been five          13      those from Miss McLemore.
       14      years.                                                    14   Q. Is it true that the JTC will sometimes attempt to
       15   Q. Oh, I understand. It's not a memory game. Speaking        15      settle a case instead of filing a formal complaint?
       16      of which do you recall which witnesses you were           16   A. Had there been settlements since I started, I believe
       17      interviewing?                                             17      so.
       18   A. I know I had several meetings with Pam Anderson. I        18   Q. Just to be clear when I say settlement, I mean that
       19      know I met with Judge Washington, I know I met with       19      JTC will make a deal in lieu of filing a formal
       20      Judge James' niece. I no longer remember her name. I      20      complaint, it might be a resignation, it might be
       21      think perhaps a few other clerks but I can't tell you     21      something else of that nature. I just wanted to
       22      who.                                                      22      clarify what I mean by settlement.
       23   Q. What were the nature of the conversations with            23   A. I believe so, but I'm not certain. Does it come
       24      Miss Anderson?                                            24      before formal complaint or after, I can't tell you.
       25   A. And again trying to recall five years ago it related      25   Q. Well, it would come before formal complaint because if


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        1      to expenses, expenditures, how -- there was some kind      1      there was a settlement reached, there would be no
        2      of a community service program whether she knew how        2      formal complaint.
        3      that was run.                                              3   A. I know one of my cases which was Judge Powers since it
        4               MS. WOJNAR-RAYCRAFT: When you say she, do         4      was filed, a formal complaint was filed, his
        5      you mean Pam Anderson?                                     5      resignation came after.
        6               THE WITNESS: No, I mean Judge James, how          6   Q. Okay.
        7      she ran that program.                                      7   A. But I believe there have been some negotiations in
        8   A. I recall there were questions overriding the computer      8      some cases. I can't tell you any details.
        9      system for entering fines and costs imposed on             9   Q. You don't have to tell me the details, I was just
       10      defendants. I'm sorry. That's the best of my recall       10      wondering if that occurs.
       11      at this point. I'm sure there are additionals.            11   A. I think so.
       12   BY MR. FISHER:                                               12   Q. And do you know if any attempts were made to settle
       13   Q. What about discussions with Judge Washington?             13      with Judge James before a formal complaint was filed
       14   A. I don't remember most of those.                           14      against her?
       15   Q. How about conversations with Judge James' niece? I        15   A. I have no idea.
       16      believe her name is Nicole James.                         16   Q. Since -- strike that.
       17   A. Nicole James, you're right. There was I believe an        17              Is it true that staff attorneys like
       18      issue related to promotions and pay increases for her.    18      yourself would make recommendations to the executive
       19      I remember meeting with Miss Nicole James in Pam'         19      director regarding discipline? When I say discipline
       20      Anderson's office. Miss Anderson left. I had a            20      I mean in connection with a judge that you're
       21      chance to talk to Nicole alone.                           21      investigating.
       22               I recall telling her that I was -- I             22   A. When you say recommendations, do we discuss stuff,
       23      understood her predicament and being related to the       23      yes, we all do but in terms of recommendations, those
       24      judge. That's the best of my recall.                      24      are made to the Commission and they're the ones who
       25   Q. And how about the same question but with respect to       25      ultimately recommend to the Supreme Court.




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        1             I don't know if that answers your question.            1      -- what were the nature of those discussions?
        2      Do we discuss, do we say oh, this should be whatever,         2               MS. MILLER: I'm going to object. I
        3      sanctioned, I mean just as lawyers, yeah, we do but is        3      believe that would be work product and attorney-client
        4      it a formal recommendation, no.                               4      privilege.
        5   Q. And correct me if I'm wrong, but isn't it true that           5   BY MR. FISHER:
        6      the executive director makes the recommendation to the        6   Q. Okay. And as far as Judge James goes, Mr. Fischer
        7      Commission regarding discipline? By way of example            7      didn't believe that a lesser form of discipline such
        8      the executive director might say 60-day suspension for        8      as a letter would have been appropriate for
        9      this judge.                                                   9      Judge James?
       10   A. Okay. Keep in mind that I am not in the room when the        10   A. You have to ask him what he believed.
       11      executive director meets with the commissioners.             11   Q. To your knowledge though you don't know either way?
       12      That's behind closed doors. We will make a                   12               MS. MILLER: I'm going to object again. I
       13      recommendation in a report and clearly that's with the       13      believe that would go to work product and
       14      approval of the executive director.                          14      attorney-client privilege. It's a discussion among
       15             What goes on behind those closed doors, I             15      staff.
       16      can't tell you.                                              16   BY MR. FISHER:
       17   Q. Behind closed doors would be with the executive              17   Q. Do you know if approval to file a formal complaint
       18      director and the Commission?                                 18      with regard to Judge James was requested?
       19   A. Correct.                                                     19   A. Yeah, it has to be approved by the Commission. You
       20   Q. Before that happens, though -- does the actual               20      mean from the Commission?
       21      discipline, what should be the discipline -- I'm just        21   Q. Yeah.
       22      saying just by way of example, 30 days, 60 days, six         22   A. Yeah, the Commission has to approve a formal
       23      months, is that the kind of thing that would be              23      complaint. In fact one proposed formal complaint is
       24      discussed between the staff attorney and the executive       24      presented to them and they can make whatever changes
       25      director?                                                    25      they want.



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        1   A. Sometimes.                                                    1   Q. And who made that request, would that have been
        2   Q. And would the staff attorney in any instances say that        2      Mr. Fischer who was executive director at the time?
        3      I think this should be 60 days suspension for this            3   A. With my signature on that as well. Maybe not. I
        4      judge?                                                        4      don't know if the formal complaint is even signed, the
        5   A. That may happen.                                              5      proposed formal complaint. The report would have
        6   Q. Not in a brief but would be just in discussion or             6      been.
        7      either way?                                                   7   Q. Now, since -- we know that Judge James did have a
        8   A. Well, ultimately the report that goes to the                  8      formal complaint filed against her, it was formal
        9      Commission will have a recommendation or the brief            9      complaint number 88.
       10      that will go to the Commission, not report.                  10   A. Sure.
       11   Q. And the brief would be from the executive director but       11   Q. And you testified it would have been your
       12      perhaps drafted by staff attorneys?                          12      recommendation -- or the recommendation signed by the
       13   A. It's drafted by staff attorneys, it's reviewed by the        13      executive director and yourself.
       14      executive director and signed by both, and the               14               So, is it fair to say it was your
       15      recommendation comes after the formal hearing.               15      recommendation that a formal complaint should be filed
       16   Q. Did you provide a recommendation to the executive            16      against Judge James?
       17      director regarding Judge James?                              17   A. Yes.
       18   A. At what point? After the hearing? Sure.                      18   Q. And that was granted by the Commission?
       19   Q. It would have been after the hearing but not before          19   A. It was approved by the Commission, yes.
       20      the hearing?                                                 20   Q. In determining whether to file a formal complaint
       21   A. And once again did we talk about it in the office as         21      against Judge James, did you consider her alleged
       22      attorneys, sure. If you're asking for any kind of a          22      conduct compared to the conduct of other judges who
       23      formal document or recommendation, I don't think one         23      the JTC had filed formal complaints against
       24      exists prior to the formal hearing.                          24      previously?
       25   Q. And as far as discussing things as attorneys, what was       25               MS. MILLER: I'm going to place an




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        1      objection because I believe that goes to work product,     1   Q. Do you -- you testified that the JTC might open an
        2      her mental impressions and it's potentially                2       investigation based on media articles?
        3      attorney-client privileged.                                3   A. Yes.
        4   BY MR. FISHER:                                                4   Q. And would there have been media articles that you
        5   Q. In considering whether to file a formal complaint in       5       recall regarding Judge Waterstone that came to the
        6      general, does the JTC compare the conduct of prior         6       attention of the JTC or staff attorneys?
        7      judges who had formal complaints against them just as      7   A. I don't know because I think when that hit the press,
        8      a matter of practice and conduct?                          8      I was still with the Prosecutor's Office.
        9   A. I believe so.                                              9   Q. Okay.
       10   Q. Are you familiar with the Brown factors?                  10   A. So, I don't know what came to the attention of JTC at
       11   A. Yes.                                                      11      that time.
       12   Q. Is that something that is also considered?                12   Q. And I guess while we are on the subject of -- and I
       13   A. Sure.                                                     13       guess the way I'm looking at this is the JTC learning
       14   Q. Would that be one of the main things that's               14       about -- and I'll say alleged or potential because if
       15      considered?                                               15       it's in the media, we don't know what it is.
       16   A. You know, there are so many facts considered. I know      16                 Do you recall hearing media articles
       17      that her case involved financial improprieties which      17       regarding Judge Mark Somers?
       18      are -- which were severe and that was a major             18   A. No.
       19      consideration.                                            19   Q. How about --
       20              There were so many other factors. I can't         20   A. I can't tell you one way or the other.
       21      tell you what was considered. In general things are       21   Q. How about Judge James Kandrevas?
       22      considered all around.                                    22   A. News articles, I don't remember, no.
       23   Q. And a similar question as before, did you compare         23   Q. Was there anything that came into the JTC's office --
       24      Judge James' alleged conduct with the conduct of other    24                 MS. MILLER: She can't -- we are going to
       25      judges against whom the JTC decided not to file a         25       place an objection because insofar as something didn't


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        1      formal complaint?                                          1      rise to the level of formal complaint, she's not at
        2   A. I don't recall.                                            2      liberty to discuss.
        3   Q. Are you familiar with a Judge Mary Waterstone?             3                MR. FISHER: And what's the basis of that
        4   A. Personally, yes, I was. She was a judge at 36th            4      objection?
        5      District Court when I was with the Prosecutor's            5                MS. MILLER: The agreement we have with
        6      Office. So, I know who she was.                            6      regard to the discovery that only -- that no judicial
        7   Q. And how did you come to learn who she was?                 7      names in terms of investigations, judges' names will
        8   A. I appeared in front of her.                                8      not be disclosed unless it rose to the level of a
        9   Q. Oh, okay. You appeared in front of her in her court?       9      formal complaint. It's in the order that the judge
       10   A. Yes.                                                      10      entered.
       11   Q. For --                                                    11                MR. FISHER: Well, I would just suggest
       12   A. I believe preliminary exams.                              12      that --
       13   Q. Oh, while you were --                                     13   BY MR. FISHER:
       14   A. Prosecutor, yes.                                          14   Q. When I say JTC, I'm including the staff attorneys.
       15   Q. Did you ever become aware while you were at the JTC       15                Would you understand that when I say JTC,
       16      that there was some potential or alleged misconduct       16      it includes the staff attorneys and the Commission, is
       17      that Judge Waterstone had committed?                      17      that fair?
       18              MS. MILLER: I'm going to place an                 18   A. I don't know what the Commission was aware of. If you
       19      objection insofar as you're asking her for information    19      want to ask me what I am aware of, that's different,
       20      about something that may have happened or something       20      but I don't know what they would have been aware of.
       21      that was less than a formal proceeding. You can ask       21   Q. I'm just prefacing my question that when I say what
       22      her about formal proceedings but anything less than       22      the JTC was aware of something, that would include the
       23      that I believe is confidential and contrary to the        23      staff attorneys, is that fair, or should I say
       24      order that we had entered into prior with discovery.      24      separately the staff attorneys?
       25   BY MR. FISHER:                                               25   A. I'm assuming any questions when you say JTC is limited




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        1      to me. I don't know what anybody else was aware of.          1   A. At what point in time?
        2      So, if there were some discussions behind closed doors       2   Q. Any point in time.
        3      with the Commission, I can't vouch for that, I can't         3   A. After I started with the Commission I heard about some
        4      testify to that.                                             4      articles. I know nothing about the content of those
        5   Q. When I say the JTC, though, do you understand that I'm       5      articles.
        6      not only speaking about commissioners, I might also be       6   Q. I'll include two judges because I believe it was
        7      asking whether it --                                         7      regarding the same set of circumstances but Judges
        8   A. I'm going to take it as you are limiting it to me.           8      Kimberly Small and Marc Barron of the 48th District
        9                MR. FISHER: Now, for the objection I'm             9      Court.
       10      just wondering whether you are objecting that whether       10   A. No.
       11      the JTC received information about allegations and          11   Q. How about Judge David Stowe?
       12      media articles about judges, if you're saying that's        12   A. No.
       13      an objection regarding the order that the court             13   Q. Judge Byron Konschuh spelled K O N S C H U H?
       14      entered.                                                    14   A. Newspaper articles?
       15                MS. MILLER: Well, insofar as your question        15   Q. Any media article.
       16      is seeking to ask did the -- was the JTC and the staff      16   A. I believe there is some media articles about Judge
       17      attorneys, did they take any action based upon news         17      Konschuh that I read.
       18      articles, I believe that is covered in terms of             18   Q. You already testified that the JTC takes the Brown
       19      conducting investigations, I believe that would be          19      factors into account when deciding whether to seek a
       20      conducted under the court order.                            20      formal complaint and you testified that that's among
       21                Now, if you're asking her was she                 21      other things of course?
       22      personally aware of a news article, I think that's a        22   A. Again I'm speaking for myself. In preparing brief to
       23      different question and she --                               23      the Commission we cover those factors, yes.
       24                MR. FISHER: That's what I asked.                  24   Q. Do you know if you took those factors into
       25                MS. MILLER: Well, you said, you were              25      consideration when determining whether Judge James



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        1       prefacing it in terms of the JTC.                           1       should have a formal complaint filed against her?
        2                 MR. FISHER: I was only asking about the           2   A. I'm sure I did. I don't specifically recall. I know
        3       JTC because I wanted to make clear when I say the JTC,      3       I covered them in the brief to the Commission, yes.
        4       I'm not talking about the commissioners, I'm talking        4   Q. Are there any circumstances where a staff attorney
        5       about the commissioners and staff attorneys and             5       might not consider the Brown factors?
        6       everybody else.                                             6   A. Not that I know of.
        7                 MS. MILLER: I think she testified she can         7   Q. Had you met Judge James prior to the JTC's
        8       only testify as to what she was aware of.                   8       investigation of her?
        9                 MR. FISHER: Right, right.                         9   A. Yes.
       10                 MS. MILLER: So, in terms of these                10   Q. Under what circumstances?
       11       questions, if we can address them to were you              11   A. I appeared in front of her.
       12       personally aware of them, that's --                        12   Q. While you were a prosecutor?
       13                 MR. FISHER: That's all I want to know.           13   A. Yes.
       14   BY MR. FISHER:                                                 14   Q. And do you remember when that was because I know you
       15   Q. I don't want to know if the JTC took action about it        15       were there for awhile.
       16       because that's what Miss Miller objected to. The same      16   A. I know it was after 2001 and prior to 2008.
       17       question.                                                  17   Q. And had you ever met Judge James outside of that
       18   A. I'm sorry. Repeat that question.                            18       context?
       19   Q. I will.                                                     19   A. I don't think so.
       20   A. Thank you.                                                  20   Q. And I presume since you had met her that you are aware
       21   Q. So, I'm just wondering whether you were ever aware of       21       she's African-American?
       22       any allegations or media articles regarding                22   A. Certainly.
       23       Judge James Kandrevas?                                     23   Q. After the JTC opened an investigation regarding
       24   A. I don't recall.                                             24       Judge James, did the JTC review any documents that it
       25   Q. Same question but as to Judge Steven Servaas.               25       had received?




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        1   A. Once again are you talking about me or the Commission?          1   A. I want to say at the end of 2011 but I know that the
        2   Q. You.                                                            2      formal hearing was in the first part of 2012, at least
        3   A. Yeah.                                                           3      that's my recall. I can't give you the exact date.
        4   Q. Were the documents reviewed -- were the documents               4              MARKED FOR IDENTIFICATION:
        5      received by subpoena or just by the JTC requesting?             5              DEPOSITION EXHIBIT 2
        6   A. Both.                                                           6              10:51 a.m.
        7   Q. And do you recall what documents were reviewed?                 7   BY MR. FISHER:
        8   A. I know there were checks that were received, I know             8   Q. Do you see -- you have in front of you what's been
        9      Miss McLemore's report was reviewed. I know there was           9      marked as Exhibit 2 which is the petition for interim
       10      some flight records reviewed. Those three come to              10      suspension, and I think there's a timestamp that says
       11      mind. I'm sure there were more but I don't recall.             11      October 29, 2012.
       12   Q. Do you recall what the significance of the checks              12              Do you see on the first page paragraph one
       13      were?                                                          13      below the preamble it states that the Commission filed
       14              MS. MILLER: I'm going to place an                      14      formal complaint number 88 on a Wednesday, October 26,
       15      objection because I believe that goes to her mental            15      2011?
       16      impressions and work product.                                  16   A. Yes.
       17   Q. I'm presuming you're going to object but I'll just             17   Q. Does that refresh your recollection on the exact date?
       18      have you to ask the question.                                  18   A. My memory of the end of 2011, that's consistent, yeah.
       19              Do you recall what the significance of what            19   Q. I just wanted the date to be on here so we can
       20      -- am I pronouncing it correctly, McLemore?                    20      pinpoint it.
       21   A. Charlene McLemore's.                                           21              Do you know what investigation took place
       22   Q. Report was?                                                    22      between the time Judge James was placed on
       23              MS. MILLER: Same objection.                            23      administrative leave and October 26, 2011 which is
       24   BY MR. FISHER:                                                    24      when the formal complaint was filed?
       25   Q. And how about the flight records?                              25   A. What part of the investigation? No, I can't tell you


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        1              MS. MILLER: Same objection.                             1      exactly what was done between those two dates and
        2   BY MR. FISHER:                                                     2      again I don't know when she was placed on
        3   Q. I presume with respect to requesting documents and              3      administrative leave, so, unless you give me that
        4      asking for interviews whether it was documents at the           4      date, I can't answer.
        5      22nd District Court or folks that worked at the 22nd            5              (Discussion held off the record at
        6      District Court that you or the JTC did not need to              6              10:53 a.m.)
        7      issue subpoenas to those folks, is that correct?                7              (Back on the record at 10:54 a.m.)
        8   A. So, you've got a couple parts to it. Are you talking            8   BY MR. FISHER:
        9      about interviews? I didn't have to subpoena anybody             9   Q. Can you look at the first page of Exhibit 2 there's a
       10      that I recall to interview the staff.                          10      preamble that states towards the end, do you see it
       11              I don't recall having to issue a subpoena              11      states that Judge James was placed on administrative
       12      for any records from the court, I don't believe so,            12      leave as ordered by the Michigan Supreme Court on
       13      no.                                                            13      April 14, 2011?
       14   Q. And the reason I ask is you did say that subpoenas             14   A. Yes, I see it.
       15      were issued and I would just like to know who those            15   Q. You have no reason --
       16      subpoenas were issued to.                                      16   A. I have no reason to doubt that.
       17   A. I can't remember. I know there was a subpoena issued           17   Q. So, my question is before that date, were there any
       18      for I think flight records.                                    18      investigations being conducted?
       19   Q. Okay. So, to the airline?                                      19   A. I have no idea.
       20   A. Correct.                                                       20               MS. MILLER: When you say that date, at
       21              (Recess taken at 10:48 a.m. )                          21      that time you are referring to the April 14th?
       22              (Back on the record at 10:50 a.m.)                     22               MR. FISHER: Correct.
       23   BY MR. FISHER:                                                    23   BY MR. FISHER:
       24   Q. Do you know when the formal complaint against                  24   Q. And I know you stated earlier that you had interviewed
       25      Judge James was filed?                                         25      some folks at the 22nd District Court, but did anybody




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        1      else conduct any investigations or interviews with            1       materials, but when you did that, was it the kind of
        2      folks?                                                        2       thing that they said hold on, let me go get that for
        3   A. From our office?                                              3       you or did they say --
        4   Q. Correct.                                                      4   A. It varied.
        5   A. I don't believe so.                                           5   Q. It varied? Both?
        6   Q. How about other people outside of the JTC?                    6   A. Both.
        7   A. I wouldn't know.                                              7   Q. And when it was the instance where they weren't able
        8   Q. So, you guys don't hire private investigators?                8       to just grab it for you on the spot, did they give it
        9   A. No.                                                           9       to you the next time you showed up or mailed it to
       10   Q. And certainly with respect to Judge James'                   10       you?
       11      investigation, there weren't other people besides            11   A. Again it varied.
       12      staff attorneys at the JTC going to the court and            12   Q. Varied.
       13      questioning people or looking for things?                    13   A. Please keep in mind we always try to accommodate the
       14   A. No. Not that I know of, no.                                  14      court. That's the policy under Mr. Fischer. We don't
       15   Q. While you were -- strike that.                               15      disrupt them.
       16                How many times did you go to the 22nd              16   Q. Right. Did you search Judge James' former office?
       17      District Court and not in your capacity as a                 17   A. No.
       18      prosecutor, I mean with respect --                           18   Q. Did you direct anybody to do that?
       19   A. Obviously. I'm guessing now but I would say two or           19   A. No.
       20      three.                                                       20   Q. And do you know whether anybody directed anybody to
       21   Q. And when you went during those instances, did you ever       21       search Judge James' office?
       22      search for materials at the court that you were              22   A. No.
       23      interested in?                                               23   Q. Do you know whether Judge James' office was searched?
       24   A. No.                                                          24   A. No, I don't know.
       25   Q. Did you ever ask for any materials that you were             25   Q. Do you know whether there was a safe in Judge James'


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        1      interested in?                                                1      office?
        2   A. Sure.                                                         2   A. I don't believe it was in her office.
        3   Q. And what types of materials?                                  3   Q. Do you know whether there's a safe in the bathroom
        4   A. Like I said depending on the interview conversation, I        4      that was associated with Judge James' office?
        5      asked for calendars from Miss Anderson. The rest I            5   A. See, I don't know where that bathroom was. I remember
        6      can't tell you.                                               6      walking past -- walking someplace with Miss Anderson
        7   Q. And I know this might sound kind of silly to you              7      and her pointing to what she represented to be a safe.
        8      because you're familiar with the process but I'm just         8   Q. Do you know why she was pointing the safe out to you?
        9      trying to get a picture of how this works.                    9   A. Because it was opened.
       10               So, is it pretty informal when you visit a          10   Q. This was at a time where the safe had already been
       11      courthouse to investigate or do you schedule the             11      opened?
       12      meetings and say we're going to be in this room from         12   A. Correct.
       13      this time to this time or is it relatively informal?         13   Q. Did it look like it was broken into?
       14   A. It's up to each individual court. We always provide          14   A. I never got that close.
       15      notice as a courtesy. We want to disrupt their               15   Q. It was just opened?
       16      proceedings as little as possible. We ask when it            16   A. Correct. And when I looked, I'm not saying it was all
       17      would be convenient.                                         17      open. That was the representation made to me and I
       18               Usually the court administrator gets back           18      believe that I noticed that the door was not
       19      with us as to what is convenient, who is going to be         19      completely shut.
       20      in, if there are any times off that are scheduled, and       20   Q. Were you interested in what was in the safe?
       21      then we arrive and if they provide a room, that's            21   A. No.
       22      wonderful, otherwise like with Miss Anderson she gave        22   Q. And you didn't ask whether some of the documents that
       23      us her office, she left and I spoke, for example, to         23      the JTC or yourself was interested in whether they
       24      Miss Nicole James.                                           24      could be in the safe?
       25   Q. You testified that you had requested documents and           25   A. No.




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        1   Q. And you're not aware whether items were removed from       1              Did the JTC have any communications with
        2      her safe?                                                  2      David Jones regarding Judge James?
        3   A. I'm not aware of anything.                                 3   A. Are you talking about the commissioners or me?
        4   Q. Do you know whether any documents obtained from            4   Q. I'll parse it out in two ways. When I say the JTC, I
        5      Judge James' office were used in connection with the       5      want to know about the commissioners so I'm asking --
        6      case against Judge James in front of the JTC?              6   A. I know nothing like that.
        7   A. I'm sorry, say that again.                                 7   Q. How about the JTC staff which would include you?
        8   Q. Do you know whether any documents that were obtained       8   A. I believe I had contact with Mr. Jones but I'm not
        9      from Judge James' office were used in connection with      9      certain.
       10      the investigation or formal proceeding?                   10   Q. Do you know what it would have been about?
       11   A. I can't tell you at this point.                           11   A. Unless I would see the request for investigation, I
       12   Q. Do you know whether any documents that were obtained      12      can't tell you at this point.
       13      from Judge James' safe were used in connection with       13   Q. So, you think that if you did speak to him, it would
       14      the investigation?                                        14      be in connection with the request for investigation
       15   A. Not to my knowledge, no.                                  15      that he made against Judge James?
       16   Q. How about any documents that were obtained just from      16   A. Yes.
       17      the 22nd District Court, were those used in connection    17   Q. Did you or any other JTC staff member ever have any
       18      with the investigation or formal proceedings regarding    18      communications with Hilliard Hampton regarding
       19      Judge James?                                              19      Judge James?
       20   A. I'm sure there were because I asked for docket sheets     20   A. No. No from me, and I don't know about anybody else,
       21      and calendars and stuff like that, so, yes.               21      but I doubt it.
       22   Q. Did the JTC have any communications with anybody from     22   Q. I'll ask the same question with respect to
       23      the Michigan Supreme Court Administrator's Office         23      commissioners.
       24      regarding Judge James?                                    24   A. Same answer. I have no idea.
       25   A. Okay. Again did I have any communications with SCAO,      25   Q. Did the JTC have any communication with anybody from


                                                               Page 46                                                           Page 48
        1       yes.                                                      1      the City of Inkster regarding Judge James?
        2   Q. Who would that be with?                                    2   A. And again are you asking me or the Commission?
        3   A. Deb Green, Charlene McLemore.                              3   Q. Well, first with respect to you and then --
        4   Q. What were the nature of the conversations with Deb         4   A. Anybody from the city?
        5       Green?                                                    5   Q. And that would include the City Council.
        6   A. I actually don't recall those. I recall more with          6   A. Not that I recall from me, and I have no knowledge as
        7       Miss McLemore than Miss Green.                            7      to the Commission.
        8   Q. What about with Miss McLemore?                             8   Q. Did the JTC have any communications -- I'll first ask
        9   A. She had to explain her reports to me. They were            9      did you or any staff attorneys have any communications
       10       accounting reports and I needed to make sure to          10      with Judge Washington regarding Judge James?
       11       understand those.                                        11   A. Yes, I met with him.
       12   Q. And I ask the last few questions with respect to you,     12   Q. I'm sorry?
       13       but do you know whether commissioners would have had     13   A. I met with him.
       14       any contact with SCAO?                                   14   Q. And what was the nature of those communications?
       15   A. I would not know that.                                    15   A. I don't recall but it related to the investigation. I
       16   Q. You wouldn't know one way or the other?                   16      don't remember the particulars now.
       17   A. No.                                                       17   Q. Are you aware that Judge Washington as chief judge had
       18   Q. Do you know whether commissioners ever contact people     18      been asked to perform some degree of investigation
       19       in connection with investigations?                       19      regarding Judge James when he was serving --
       20   A. Contact whom?                                             20   A. I don't recall that.
       21   Q. Anybody, I mean just -- you interview folks and make      21   Q. Do you know if any JTC commissioners had any
       22       phone calls or interview or talk to people. Do you       22      communications with Judge Washington?
       23       know if commissioners ever do that in --                 23   A. Not that I know of.
       24   A. I have no idea.                                           24   Q. We just covered a decent amount of folks but are there
       25   Q. Did the JTC have any communications -- strike that.       25      any other categories of people or organizations that




                                                                                                                 Pages 45 to 48
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        1      you or any other staff attorneys had communications        1   Q. Do you recall how many meetings you had with her?
        2      with regard Judge James?                                   2   A. I'm guessing two or three.
        3   A. I don't think so.                                          3   Q. Two or three? Okay.
        4   Q. And the same question as to commissioners.                 4   A. And I recall that I met with her I think during the
        5   A. I don't know.                                              5      hearing.
        6   Q. What did you do to prepare for this deposition today?      6   Q. During the hearing.
        7   A. I called Jeanmarie.                                        7   A. But that's during the proceedings.
        8   Q. I don't want to hear about what you said to her.           8   Q. For hearing preparation?
        9   A. Regarding the date and the time. If you're asking did      9   A. Yes, this hearing lasted six weeks.
       10      I review any documents, no, I did not.                    10   Q. I've tried to wade through some of the transcript.
       11   Q. Was this the first time you've been deposed?              11       So, the two to three times that you went to the
       12   A. No.                                                       12       courthouse for your investigation was Miss Anderson at
       13   Q. And what other times have you been deposed?               13       all of those meetings?
       14   A. I was deposed in the case of Mr. Fischer's, and I         14   A. I believe so.
       15      don't remember whether I was deposed -- I testified       15   Q. Okay. And I believe you testified that when you
       16      before but that was in court, not in a deposition.        16       called to set up the meetings, you would have been
       17   Q. And aside from counsel, have you spoken to anybody        17       setting them up through Pam Anderson as the court
       18      else about this case?                                     18       administrator?
       19   A. I spoke to Mr. Swastek after his deposition basically     19   A. Yes.
       20      asking why it took three-and-a-half hours or close to     20   Q. Okay. Do you recall what dates you went to the
       21      it. Nothing about details. He had nothing to do with      21       courthouse? I'm sorry. I'm going to ask and you can
       22      the case itself, so --                                    22       say no.
       23   Q. So, you were just talking to Mr. Swastek about how the    23   A. No, I don't, I'm sorry.
       24      deposition went?                                          24   Q. I can't recall last week but I'm going to ask the
       25   A. How it went.                                              25       question anyway.


                                                              Page 50                                                           Page 52
        1   Q. Whether we were jerks?                                     1               And I think one of the things that you said
        2   A. Why it took three hours plus. That's it.                   2      you talked with Miss Anderson about was the community
        3   Q. Well, I don't think yours will take three hours            3      service fund, the check requests for that, you went
        4       because I have nothing else and I appreciate your         4      over checks with Miss Anderson?
        5       time.                                                     5   A. Yes, but keep in mind that I believe the checks came
        6   A. Thank you.                                                 6      from Miss McLemore.
        7               MR. FISHER: Anybody else?                         7   Q. Okay.
        8               MS. MILLER: I don't have any questions.           8   A. I think she had all the checks already.
        9               MS. TERPSMA: I don't have any questions.          9   Q. Right.
       10               MS. WOJNAR-RAYCRAFT: I have some follow-up       10   A. Because she did her audit.
       11       questions, but if I could take a little break to make    11   Q. Okay.
       12       sure I don't repeat and organize them as efficiently     12   A. Did I discuss it with Pam, yeah, I think so.
       13       as possible.                                             13   Q. So, you testified you already had the checks from
       14               (Recess taken at 11:08 a.m.)                     14      Miss McLemore so you didn't get those from
       15               (Back on the record at 11:14 a.m.)               15      Miss Anderson, but did you at one of your meetings go
       16                      EXAMINATION                               16      over the checks with her in the check records maybe?
       17   BY MS. WOJNAR-RAYCRAFT:                                      17   A. Each of the checks, no, I don't think so.
       18   Q. Again I'm Melissa Raycraft from Mike Cox Law Firm. I      18   Q. Okay. And did you go through the check request forms
       19       represent Pam Anderson.                                  19      with Miss Anderson if you recall?
       20               I tried to go through and cross off              20   A. I seem to have some recall of that but I can't be
       21       questions I had related to Pam that Mr. Fisher already   21      certain.
       22       covered. We've got about 15 minutes maybe.               22   Q. Okay. Did you tell Miss Anderson that there was
       23               I think you said you had meetings at the         23      anything improper about the checks or the check
       24       courthouse with Pam Anderson.                            24      requests?
       25   A. Yes.                                                      25   A. You know, I don't express an opinion during an




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        1      investigation.                                           1   A. I don't recall whether I did or did not say that. I
        2   Q. Okay.                                                    2      know that issue came up in the investigation.
        3   A. For the most part I just get information and get it      3   Q. Okay. Did Miss Anderson tell you that she thought
        4      ready to present at a formal hearing because even        4       there was a problem with the days off?
        5      during the investigation there's always a focus on a     5   A. I don't recall.
        6      possibility of a formal hearing. So, you always have     6   Q. And did you discuss with Miss Anderson anything
        7      to focus on that.                                        7       regarding Judge James' reimbursement for travel
        8              So, I don't know.                                8       expenses?
        9   Q. Okay. Did Miss Anderson tell you that she thought        9   A. I don't know.
       10      there was anything improper about the checks?           10   Q. Okay. Did Miss Anderson -- did you ask Miss Anderson
       11   A. I don't recall.                                         11       for any documents relating to travel expenses?
       12   Q. And I think one of the other topics that you met with   12   A. I think I may have, but I can't tell you what exactly
       13      Miss Anderson about were the calendars.                 13      I would ask for.
       14   A. I know in one of the conversations an issue came up     14   Q. Okay.
       15      about calendars and the information that she            15   A. I simply have no memory. It's been five years. I
       16      maintained in those calendars.                          16      know there was an issue with regards to travel, yes,
       17   Q. She being?                                              17      but I can't tell you one way or the other.
       18   A. Miss Anderson.                                          18   Q. Okay. Did Miss Anderson tell you she thought there
       19   Q. Okay.                                                   19       was anything improper about the travel expenses?
       20   A. So, I asked for a copy of those calendars.              20   A. I don't recall.
       21   Q. From Miss Anderson?                                     21   Q. Okay. One of the other topics that you testified
       22   A. Yes.                                                    22       earlier to today about, and I'm not quite sure, some
       23   Q. And did Miss Anderson give you --                       23       overriding in the computer, and I'm not sure what that
       24   A. Yes.                                                    24       is.
       25   Q. Do you recall what years of the calendars that you      25   A. Yes, as I recall if someone was paying fines or fees,


                                                             Page 54                                                           Page 56
        1      asked for?                                               1      court costs, there was a -- I want to say JIS computer
        2   A. No, I'm sorry, I don't.                                  2      system or program, and I may be wrong on the letters
        3   Q. Okay. Were they paper calendars or electronic            3      here but where it would automatically apportion the
        4      calendars?                                               4      payments into certain accounts.
        5   A. Oh, paper.                                               5             There was some way to override it, and I
        6   Q. And was the purpose of reviewing the calendars           6      believe that there was some testimony and some
        7      regarding Judge James' time off?                         7      evidence that Judge James had requested that the
        8   A. I believe so but I'm not one hundred percent certain.    8      clerks override the program and funnel that money into
        9   Q. Would there have been another purpose to review the      9      a separate account that was at the heart of the
       10      calendars?                                              10      investigation, part of the investigation.
       11   A. Not that I recall. Keep in mind I have not reviewed     11   Q. Okay. Did Miss Anderson provide you any information
       12      anything in this case.                                  12      on that part of your investigation about the
       13   Q. For this deposition?                                    13      overriding the fines?
       14   A. Correct.                                                14   A. I believe so but if you ask me exactly what she
       15   Q. Okay. But for the hearing you probably did?             15      provided, I could not tell you.
       16   A. Yes.                                                    16   Q. Then one of the other things you said you asked Miss
       17   Q. Okay. Did you request that Miss Anderson put together   17      Anderson for docket sheets?
       18      a summary regarding Judge James' attendance at court?   18   A. I may have.
       19   A. I don't recall.                                         19   Q. Okay. And what was the purpose of asking?
       20   Q. Okay.                                                   20   A. And again in terms of documents I can't tell you
       21   A. I may have but I'm not certain.                         21      whether I specifically did ask, but a lot of times I
       22   Q. Okay. And I think I already know the answer to this     22      will ask for docket sheets if there are specific cases
       23      question but I'm going to ask it anyways. Did you       23      we are looking into. I can't tell you what I asked
       24      tell Miss Anderson that you thought there was a         24      for specifically.
       25      problem with Judge James' time off?                     25   Q. Do you recall if Miss Anderson provided you with the




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        1      docket sheets you asked for?                              1      it wasn't completely shut.
        2   A. Whatever we requested she provided I believe to the       2   A. Correct.
        3      best of I believe her ability.                            3   Q. Okay. And after that meeting at the courthouse, did
        4   Q. Was Miss Anderson cooperative during the                  4      you ever follow up on any -- with Miss Anderson about
        5      investigation?                                            5      the safe at all after that?
        6   A. Yes.                                                      6   A. I don't believe so, no.
        7   Q. All right. I have some questions about the infamous       7   Q. Okay.
        8      safe again.                                               8   A. Until the hearing when that issue came up.
        9               So, was the first time that you heard about      9   Q. Okay. And I'm not sure if I can this so I'm sure
       10      this safe was when you were walking through the          10      you'll object.
       11      courthouse with Miss Anderson?                           11               When you were preparing for the hearing,
       12   A. Yes.                                                     12      did you investigate any more about the safe?
       13   Q. And it was one of the two to three times you were        13   A. No.
       14      there for your investigation?                            14   Q. Okay.
       15   A. Yes.                                                     15   A. I mean the issue came during the hearing itself.
       16   Q. And I believe you said that Miss Anderson pointed out    16   Q. During the hearing in the hearing.
       17      to you what was represented to be a safe, something      17   A. Correct.
       18      like that?                                               18   Q. But I was asking for like when you were preparing for
       19   A. Yes, just walking past what I believe now to be the      19      it.
       20      bathroom that it was in.                                 20   A. No.
       21   Q. Okay.                                                    21   Q. Do you know if anybody had a key to the safe?
       22   A. I never entered, neither did she.                        22   A. You are assuming there was a key. I don't know how it
       23   Q. Okay. But Miss Anderson pointed it out to you?           23      was opened. I couldn't see whether it was a
       24   A. Correct.                                                 24      combination or key. I don't know. Never got that
       25   Q. And did it look like a safe?                             25      close.


                                                              Page 58                                                            Page 60
        1   A. I mean it was kind of like a box.                         1   Q. All right. To your knowledge do you know if Miss
        2   Q. Okay.                                                     2      Anderson had any way to open the safe?
        3   A. I know there was almost like a doily on top of it and     3   A. Not that I know of.
        4      I think there was -- as you were facing there was a       4   Q. Do you know who opened the safe?
        5      sink and it was to the right of the sink. Is it a         5   A. No.
        6      traditional sink, no, I would say not.                    6   Q. Do you know if any of the documents that you requested
        7   Q. Somebody --                                               7      from Miss Anderson for your investigation would have
        8   A. But I didn't look that close --                           8      been in the safe?
        9   Q. Did you stop?                                             9   A. Not that I know of.
       10   A. No.                                                      10   Q. Do you know what ended up -- do you know what ended up
       11   Q. Okay. So, you just kept on walking and Miss Anderson     11      happening with the safe?
       12      said there's the safe, something like that?              12   A. No.
       13   A. No, there was some mention of -- this is not a quote.    13   Q. Okay.
       14   Q. Right.                                                   14                MS. WOJNAR-RAYCRAFT: I think that's all I
       15   A. Miss Anderson making a comment that somebody did         15      have. Yep. That's it. I'm done.
       16      something to the safe or somebody opened the safe or     16                MR. FISHER: I'm done.
       17      the safe was opened, but it was clear that she had no    17                MS. MILLER: Do you have anything?
       18      knowledge as to who and we just kept on walking.         18                MS. TERPSMA: No.
       19   Q. So, didn't even stop, just kept on walking?              19                (The deposition was concluded at 11:29 a.m.
       20   A. No.                                                      20               Signature of the witness was not requested by
       21   Q. Okay. Do you recall after she made those comments        21                counsel for the respective parties hereto.)
       22      did you follow up with any questions about the safe      22
       23      with her?                                                23
       24   A. No, not that I recall.                                   24
       25   Q. Okay. I believe you testified that you noticed that      25




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        1             CERTIFICATE OF NOTARY
        2   STATE OF MICHIGAN )
        3              ) SS
        4   COUNTY OF WAYNE)
        5
        6              I, Nora Morrissy, certify that this
        7     deposition was taken before me on the date
        8     hereinbefore set forth; that the foregoing questions
        9     and answers were recorded by me stenographically and
       10     reduced to computer transcription; that this is a
       11     true, full and correct transcript of my stenographic
       12     notes so taken; and that I am not related to, nor of
       13     counsel to, either party nor interested in the event
       14     of this cause.
       15
       16
       17
       18
       19
       20
       21
       22            Nora Morrissy, CSR-2642
       23            Notary Public,
       24            Wayne, County, Michigan.
       25     My Commission expires: 9-13-19




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